
MILLER, Judge.
For the reasons stated in the consolidated case of Michigan Wisconsin Pipe Line Company v. Walet, La.App., 225 So.2d 76, in which a separate decision is being rendered by us this date, the judgment appealed in the present case is amended and affirmed.
It is now ordered, adjudged and decreed that the trial court’s judgment is amended such that Michigan Wisconsin Pipe Line Company is ordered to pay to defendants Claude J. Gonsoulin and Clenie Segura, the sum of Fifty-two hundred thirty-three and 81/100 ($5233.81) Dollars, together with interest of 5% per annum from August 9, 1968 until paid, which is adjudged to be the value of the right of way and damages resulting from the construction of the pipeline together with expenses found to be a direct consequence of construction of the pipeline; specifically reserving to defendants their claim for damages to their 1968 crop *87located outside the right of way but within a “cut” crossed by the pipeline, and or any damages sustained by them or their equipment as a result of their attempt to save their 1968 crop and which they can show resulted from construction, installation and/or operation of the pipeline.
All court costs are to be paid by Michigan Wisconsin Pipe Line Company.
Amended and affirmed.
